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GAS 245B (Rev. 04/20) Judgment in a Criminal Case
DC Custody TSR

 

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF GEORGIA
BRUNSWICK DIVISION

 

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v.

Francisco Campos-Chino )
)° Case Number: 2:21CRO0001-1
)
) USM Number: 29844-509
)
)

Adrienne Blair Browning

 

THE DEFENDANT: Defendant's Attorney
pleaded guilty to Count 1.

 

(C pleaded nolo contendere to Count(s) which was accepted by the court.

C1 was found guilty on Count(s) after a plea of not guilty.
The defendant is adjudicated guilty of this offense:
Title & Section Nature of Offense Offense Ended Count

8 U.S.C. 1326(a) Re-entry after removal/deportation January 1, 2021 ]

The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

CJ The defendant has been found not guilty on Count(s)

CJ Count(s) O is 0 aredismissed as to this defendant on the motion of the United States.

It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the Court and United States Attorney of material changes in economic circumstances.

 

 

 

hone
LISA GODBEY WOOD

UNITED STATES DISTRICT JUDGE

 

Name and Title of Judge

Mex LG 2Ab|

Date
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BC Custody TSR
DEFENDANT: Francisco Campos-Chino
CASE NUMBER: 2:21CR00001-1
IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of: Time served. Upon release from confinement. the defendant shall _be delivered to a duly authorized Immigration and
Customs Enforcement officer for deportation proceedings.

11 ‘The Court makes the following recommendations to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district:

O at Ooam ( p.m. on

 

(1 as notified by the United States Marshal.

[] ‘The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

O before 2 p.m. on

 

(1 as notified by the United States Marshal,

(0  asnotified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
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DC Custedy TSR

DEFENDANT: Francisco Campos-Chino

CASE NUMBER: 2:21CR00001-1

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments.

Assessment Restitution Fine AVAA Assessment* JVTA Assessment **
TOTALS $100 N/A None N/A N/A
(1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C)

will be entered after such determination.
[J = The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
paid before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
TOTALS

CJ Restitution amount ordered pursuant to plea agreement $

(1 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject to
penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(0 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
L] the interest requirement is waived forthe (fine O restitution.

OC the interest requirement for the CJ fine C1 restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.

** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996. ,
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DC Custody TSR
DEFENDANT: Francisco Campos-Chino
CASENUMBER: . 2:21CRO0001-1
SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A &_ Lumpsum payment of $100 is due immediately.

(not later than .or
(J inaccordance [J C, 1 D, OF E,or 0 F below; or

(1 +Payment to begin immediately (may be combined with Oc, C1 D, or C] F below); or
C ( Payment in equal fe.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D (© Payment in equal fe.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E [© Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F ( Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[1 Joint and Several
Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
_and corresponding payee, if appropriate.

[1 The defendant shal! pay the cost of prosecution.
(J The defendant shall pay the following court cost(s):

(The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
